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UNITED sTATEs nlsTRlcT COURT FflED BY l _,___ D.c`;
FOR THE
WESTERN DISTRICT 0F TENNESSEE 05 JUI. -8 PH lo 03

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UNITED sTATES 0F AMERICA ) "¢i‘/'D C'. §§:§‘Y§PHIS
)

vs. ) Cr. No. 05-20231-B
)

MARCUS TALLEY, )

APPLICATION. ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
Katrina U. Earlev. Assistant U.S. Attornev applies to the Court for a Writ to have
Marcus Tallev. RNI #257797. DOB 10-30-79` is now being detained in the Shelb}§ County .Iail appear
before the Honorable Diane K. Vescovo on 20th, July, 2005, at 2:00 p.m. for initial appearance and
for such other appearances as this Court may direct.

Rcspectfully submitted this S_th day of .Iuly, 2005.

Assistant U. S. Attorney 7
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Upon consideration of the foregoing Application,
DAVID G. JOLLEY, U.S. MARSHAL, WESTERN DlSTRICT OF TENNESSEE, MEMPHIS, TN
SHERIFF/WARDEN,
YOU ARE HEREBY COMMANDED to have Marcus Tallev

appear before the Honorable Diane K. Vescovo at the date and time aforementioned

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ENTERED this § day of July 2005.

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UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CR-20231 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

